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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


 SMART STUDY CO., LTD.,
                                                        20-cv-1733 (MKV)
 Plaintiff

 v.                                                      PRELIMINARY
                                                      INJUNCTION ORDER
 A PLEASANT TRIP STORE, et al.,

 Defendants
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         WHERAS, Plaintiff 1 having moved ex parte on February 27, 2020 against Defendants for

the following: 1) a temporary restraining order; 2) an order restraining Merchant Storefronts and

Defendants’ Assets with the Financial Institutions; 3) an order to show cause why a preliminary

injunction should not issue; 4) an order authorizing bifurcated and alternative service and 5) an

order authorizing expedited discovery (Dkts. 12 – 16);

         WHEREAS, the Court entered an Order granting Plaintiff’s Application on February 27,

2020 which ordered Defendants to appear on March 19, 2020 at 3:00 p.m. to show cause why a

preliminary injunction should not issue (Dkt. 21);

         WHEREAS, the Court subsequently entered an Order on March 5, 2020, extending the

TRO and rescheduling the March 19, 2020 show cause hearing to May 5, 2020 at 3:00 p.m.

(“March 5, 2020 Order”) (Dkt. 18);

         WHEREAS, on March 16, 2020 and March 17, 2020, pursuant to the alternative methods

of service authorized by the TRO, Plaintiff served the Summons, Complaint, TRO, all papers filed

in support of the Application and the March 5, 2020 Order on each and every Defendant;

         WHEREAS, on May 4, 2020, Plaintiff filed a Certificate of Service affirming that service

had been effected on each and every Defendant (Dkt. 20), and Plaintiff’s counsel represented the

same at the Show Cause Hearing on May 5, 2020;

         WHEREAS, on May 5, 2020 at 3:00 p.m., Plaintiff appeared at the Show Cause Hearing.

No Defendants appeared.

         For the reasons stated on the record at the Show Cause Hearing and in the Court’s separate

opinion detailing Findings of Fact and Conclusions of Law, IT IS HEREBY ORDERED:

    1. The injunctive relief previously granted in the TRO shall remain in place through the


1
  Where a defined term is referenced herein but not defined, it should be understood as it is defined in the Glossary in
the Complaint.

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 pendency of this litigation. Issuing this Order is warranted under Federal Rule of Civil

 Procedure 65 and Section 34 of the Lanham Act.

 a) Accordingly, Defendants are hereby restrained and enjoined from engaging in any of

    the following acts or omissions pending the final hearing and determination of this

    action or until further order of the Court:

        i. manufacturing, importing, exporting, advertising, marketing, promoting,

            distributing, displaying, offering for sale, selling and/or otherwise dealing in

            Counterfeit Products or any other products bearing the Baby Shark Marks

            and/or Baby Shark Works and/or marks or artwork that are confusingly or

            substantially similar to, identical to and constitute a counterfeiting and/or

            infringement of the Baby Shark Marks and/or Baby Shark Works;

        ii. directly or indirectly infringing in any manner any of Plaintiff’s Baby Shark

            Marks and/or Baby Shark Works;

       iii. using any reproduction, counterfeit, copy or colorable imitation of Plaintiff’s

            Baby Shark Marks and/or Baby Shark Works, to identify any goods or services

            not authorized by Plaintiff;

       iv. using any of Plaintiff’s Baby Shark Marks and/or Baby Shark Works or any

            other marks and/or artwork that are confusingly or substantially similar to the

            Baby Shark Marks and/or Baby Shark Works on or in connection with

            Defendants’ manufacturing, importing, exporting, advertising, marketing,

            promoting, distributing, displaying, offering for sale, selling and/or otherwise

            dealing in Counterfeit Products;

        v. using any false designation of origin or false description, or engaging in any



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           action which is likely to cause confusion, cause mistake and/or to deceive

           members of the trade and/or the public as to the affiliation, connection or

           association of any product manufactured, imported, exported, advertised,

           marketed, promoted, distributed, displayed, offered for sale or sold by

           Defendants with Plaintiff, and/or as to the origin, sponsorship or approval of

           any product manufactured, imported, exported, advertised, marketed,

           promoted, distributed, displayed, offered for sale or sold by Defendants and

           Defendants’ commercial activities and Plaintiff;

       vi. secreting, concealing, destroying, altering, selling off, transferring or otherwise

           disposing of and/or dealing with: (i) Counterfeit Products and/or (ii) any

           computer files, data, business records, documents or any other records or

           evidence relating to their User Accounts, Merchant Storefronts or Defendants’

           Assets and the manufacture, importation, exportation, advertising, marketing,

           promotion, distribution, display, offering for sale and/or sale of Counterfeit

           Products;

      vii. effecting assignments or transfers, forming new entities or associations, or

           creating and/or utilizing any other platform, User Account, Merchant Storefront

           or any other means of importation, exportation, advertising, marketing,

           promotion, distribution, display, offering for sale and/or sale of Counterfeit

           Products for the purposes of circumventing or otherwise avoiding the

           prohibitions set forth in this Order; and

     viii. knowingly instructing, aiding or abetting any other person or business entity in

           engaging in any of the activities referred to in subparagraphs 1(a)(i) through



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             1(a)(vii) above and 1(b)(i) through 1(b)(ii) and 1(c)(i) below.

 b) Accordingly, the Third Party Service Providers and Financial Institutions are hereby

    restrained and enjoined from engaging in any of the following acts or omissions

    pending the final hearing and determination of this action or until further order of the

    Court:

        i. secreting, concealing, transferring, disposing of, withdrawing, encumbering or

             paying Defendants’ Assets from or to Defendants’ Financial Accounts until

             further ordered by this Court;

        ii. secreting, concealing, destroying, altering, selling off, transferring or otherwise

             disposing of and/or dealing with any computer files, data, business records,

             documents or any other records or evidence relating to the Defendants’ User

             Accounts, Merchant Storefronts, Defendants’ Assets and the manufacture,

             importation, exportation, advertising, marketing, promotion, distribution,

             display, offering for sale and/or sale of Counterfeit Products; and

       iii. knowingly instructing, aiding, or abetting any other person or business entity in

             engaging in any of the activities referred to in subparagraphs 1(a)(i) through

             1(a)(vii) and 1(b)(i) through 1(b)(ii) above.

 c) Accordingly, the Third Party Service Providers are hereby restrained and enjoined from

    engaging in any of the following acts or omissions pending the final hearing and

    determination of this action or until further order of the Court:

        i. providing services to Defendants, Defendants’ User Accounts and Defendants’

             Merchant Storefronts, including, without limitation, continued operation of

             Defendants’ User Accounts and Merchant Storefronts insofar as they are



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               connected to the Counterfeit Products;

           ii. secreting, concealing, destroying, altering, selling off, transferring or otherwise

               disposing of and/or dealing with any computer files, data, business records,

               documents or any other records or evidence relating to the Defendants’ User

               Accounts, Merchant Storefronts, Defendants’ Assets and the manufacture,

               importation, exportation, advertising, marketing, promotion, distribution,

               display, offering for sale and/or sale of Counterfeit Products; and

          iii. knowingly instructing, aiding, or abetting any other person or business entity in

               engaging in any of the activities referred to in subparagraphs 1(a)(i) through

               1(a)(vii), 1(b)(i) through 1(b)(ii) and 1(c)(i) through 1(c)(ii) above.

2. As sufficient cause has been shown, the asset restraint granted in the TRO shall remain in

   place through the pendency of this litigation, including that:

   a) within seven (7) days of receipt of notice of this Order, any newly discovered Financial

       Institutions who are served with this Order shall locate and attach Defendants’

       Financial Accounts, shall provide written confirmation of such attachment to Plaintiff’s

       counsel and provide Plaintiff’s counsel with a summary report containing account

       details for any and all such accounts, which shall include, at a minimum, identifying

       information for Defendants and Defendants’ User Accounts, contact information for

       Defendants (including mailing addresses and e-mail addresses), account numbers and

       account balances for any and all of Defendants’ Financial Accounts.

3. As sufficient cause has been shown, the expedited discovery previously granted in the TRO

   shall remain in place through the pendency of this litigation, including that:

   a) Plaintiff may serve interrogatories pursuant to Rules 26 and 33 of the Federal Rules of



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         Civil Procedure as well as Local Civil Rule 33.3 of the Local Rules for the Southern

         and Eastern Districts of New York and Defendants who are served with this Order shall

         provide written responses under oath to such interrogatories within fourteen (14) days

         of service to Plaintiff’s counsel.

 b) Plaintiff may serve requests for the production of documents pursuant to Rules 26 and

         34 of the Federal Rules of Civil Procedure and Defendants who are served with this

         Order, their respective officers, employees, agents, servants and attorneys and all

         persons in active concert or participation with any of them who receive actual notice of

         this Order shall produce all documents responsive to such requests within fourteen (14)

         days of service to Plaintiff’s counsel.

 c) Within fourteen (14) days after receiving notice of this Order, all Financial Institutions

         who receive service of this Order shall provide Plaintiff’s counsel with all documents

         and records in their possession, custody or control (whether located in the U.S. or

         abroad), relating to any and all of Defendants’ Financial Accounts, User Accounts and

         Merchant Storefronts, including, but not limited to, documents and records relating to:

    i.       account numbers;

   ii.      current account balances;

  iii.      any and all identifying information for Defendants and Defendants' User Accounts,

            including names, addresses and contact information;

  iv.        any and all account opening documents and records, including, but not limited to,

             account applications, signature cards, identification documents, and if a business

             entity, any and all business documents provided for the opening of each and every

             of Defendants’ Financial Accounts;



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   v.    any and all deposits and withdrawal during the previous year from each and every

         of Defendants’ Financial Accounts and any and all supporting documentation,

         including, but not limited to, deposit slips, withdrawal slips, cancelled checks and

         account statements;

  vi.    any and all wire transfers into each and every of Defendants’ Financial Accounts

         during the previous year, including, but not limited to, documents sufficient to show

         the identity of the destination of the transferred funds, the identity of the

         beneficiary’s bank and the beneficiary’s account number;

 vii.    any and all User Accounts and account details, including, without limitation,

         identifying information and account numbers for any and all User Accounts that

         Defendants have ever had and/or currently maintain;

 viii.   the identities, location and contact information, including any and all e-mail

         addresses, of Defendants, their respective officers, employees, agents, servants and

         all persons in active concert or participation with any of them;

  ix.    the nature of Defendants’ businesses and operations, methods of payment, methods

         for accepting payment and any and all financial information, including, but not

         limited to, information associated with Defendants’ User Accounts, a full

         accounting of Defendants’ sales history and listing history under such accounts,

         and Defendants’ Financial Accounts associated with Defendants’ User Accounts;

         and

   x.    Defendants’ manufacturing, importing, exporting, advertising, marketing,

         promoting, distributing, displaying, offering for sale and/or selling of Counterfeit

         Products, or any other products bearing one or more of the Baby Shark Marks



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                  and/or Baby Shark Works and/or marks or artwork that are confusingly or

                  substantially similar to, identical to and constitute a counterfeiting and/or

                  infringement of the Baby Shark Marks and/or Baby Shark Works.

d) Within fourteen (14) days of receipt of service of this Order, the Third Party Service Providers

   shall provide to Plaintiff’s counsel all documents and records in its possession, custody or

   control (whether located in the U.S. or abroad) relating to Defendants’ User Accounts and

   Defendants’ Merchant Storefronts, including, but not limited to, documents and records

   relating to:

          i.      any and all User Accounts and Defendants’ Merchant Storefronts and account

                  details, including, without limitation, identifying information and account numbers

                  for any and all User Accounts and Defendants’ Merchant Storefronts that

                  Defendants have ever had and/or currently maintain with the Third Party Service

                  Providers;

         ii.      the identities, location and contact information, including any and all e-mail

                  addresses of Defendants;

        iii.      the nature of Defendants’ businesses and operations, methods of payment, methods

                  for accepting payment and any and all financial information, including, but not

                  limited to, information associated with Defendants’ User Accounts and

                  Defendants’ Merchant Storefronts, a full accounting of Defendants’ sales history

                  and listing history under such accounts and Defendants’ Financial Accounts with

                  any and all Financial Institutions associated with Defendants’ User Accounts and

                  Defendants’ Merchant Storefronts; and




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    iv.      Defendants’ manufacturing, importing, exporting, advertising, marketing,

             promoting, distributing, displaying, offering for sale and/or selling of Counterfeit

             Products, or any other products bearing the Baby Shark Marks and/or Baby Shark

             Works and/or marks or artwork that are confusingly or substantially similar to,

             identical to and constitute an infringement of the Baby Shark Marks and/or Baby

             Shark Works.

4. As sufficient cause has been shown, and pursuant to FRCP 4(f)(3), service may be made

   on, and shall be deemed effective as to Defendants if it is completed by one of the following

   means:

   a) delivery of: (i) a PDF copy of this Order and the separate opinion (once it is filed)

          detailing the Court’s Findings of Fact and Conclusions of Law, and (ii) a link to a secure

       website (including NutStore, a large mail link created through Rmail.com or via

       website publication through a specific page dedicated to this Lawsuit accessible

       through ipcounselorslawsuit.com) where each Defendant will be able to download a

       PDF copy of this Order and the separate opinion (once it is filed) detailing the Court’s

          Findings of Fact and Conclusions of Law, to Defendants’ e-mail addresses to be

       determined after having been identified in Schedule A pursuant to Paragraph V(C) of

          the TRO or may otherwise be determined; or

   b) delivery of a message to Defendants through the same means that Plaintiff’s agents

          have previously communicated with Defendants, namely the system for

          communications established by the Third party Service Providers on their respective

          platforms, and providing a link to a secure website (such as NutStore or a large mail

          link created through Rmail.com) where each Defendant will be able to download a PDF



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       copy of this Order and the separate opinion (once it is filed) detailing the Court’s

       Findings of Fact and Conclusions of Law.

5. As sufficient cause has been shown, that such alternative service by electronic means

   ordered in the TRO and herein shall be deemed effective as to Defendants, Third Party

   Service Providers and Financial Institutions through the pendency of this action.

6. As sufficient cause has been shown, service of this Order shall be made on and deemed

   effective as to the Third Party Service Providers and Financial Institutions if it is completed

   by the following means:

       a) delivery of: (i) a PDF copy of this Order and the separate opinion (once it is filed)

          detailing the Court’s Findings of Fact and Conclusions of Law, and (ii) a link to a

          secure website where PayPal will be able to download a PDF copy of this Order

          and the separate opinion (once it is filed) detailing the Court’s Findings of Fact and

          Conclusions of Law via electronic mail to EE Omaha Legal Specialist at

          EEOMALegalSpecialist@paypal.com;




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    b) delivery of: (i) a PDF copy of this Order and the separate opinion (once it is filed)

       detailing the Court’s Findings of Fact and Conclusions of Law, and (ii) a link to a

       secure website where AliPay.com Co., Ltd., Ant Financial Services will be able to

       download a PDF copy of this Order and the separate opinion (once it is filed)

       detailing the Court’s Findings of Fact and Conclusions of Law via electronic mail

       Mr. Di Zhang, Member of the Legal & Compliance Department – IP, at

       di.zd@alipay.com;

    c) delivery of: (i) a PDF copy of this Order and the separate opinion (once it is filed)

       detailing the Court’s Findings of Fact and Conclusions of Law, and (ii) a link to a

       secure website where Alibaba will be able to download a PDF copy of this Order

       and the separate opinion (once it is filed) detailing the Court’s Findings of Fact and

       Conclusions of Law via electronic mail to Ms. Rachel Wang, Legal Counsel,

       Alibaba Group at rachel.wy@alibaba-inc.com and Ms. Yujuan He, Paralegal,

       Alibaba Group at chloe.he@alibaba-inc.com;

    d) delivery of: (i) a PDF copy of this Order and the separate opinion (once it is filed)

       detailing the Court’s Findings of Fact and Conclusions of Law, and (ii) a link to a

       secure website where Payoneer Inc. will be able to download a PDF copy of this

       Order and the separate opinion (once it is filed) detailing the Court’s Findings of

       Fact and Conclusions of Law via electronic mail to Payoneer Inc.’s Customer

       Service Management at customerservicemanager@payoneer.com and Edward

       Tulin, counsel for Payoneer Inc., at Edward.Tulin@skadden.com; and

    e) delivery of: (i) a PDF copy of this Order and the separate opinion (once it is filed)

       detailing the Court’s Findings of Fact and Conclusions of Law, and (ii) a link to a



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              secure website where PingPong Global Solutions Inc. will be able to download a

              PDF copy of this Order and the separate opinion (once it is filed) detailing the

              Court’s Findings of Fact and Conclusions of Law via electronic mail to PingPong

              Global Solutions Inc.’s Legal Department at legal@pingpongx.com.

   7. Defendants are hereby given notice that they may be deemed to have actual notice of the

       terms of this Order and any act by them or anyone of them in violation of this Order may

       be considered and prosecuted as in contempt of this Court.

   8. The $5,000.00 bond posted by Plaintiff shall remain with the Court until a final disposition

       of this case or until this Order is terminated.

   9. This Order shall remain in effect during the pendency of this action, or until further order

       of the Court.

   10. Any Defendants that are subject to this Order may appear and move to dissolve or modify

       the Order on two (2) days’ notice to Plaintiff or on shorter notice as set by the Court.



SO ORDERED.

SIGNED this 5th day of May, 2020, at 4:35 p.m.
New York, New York

                                                         _________________________________
                                                         HON. MARY KAY VYSKOCIL
                                                         UNITED STATES DISTRICT JUDGE




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SOUTHERN DISTRICT OF NEW YORK                                              DOC #:
                                                                           DATE FILED: 5/7/2020

 SMART STUDY CO., LTD.,
                                                                      1:20-cv-1733 (MKV)
                                   Plaintiff,
 v.

 A PLEASANT TRIP STORE, et al.,

                                   Defendants.


                   FINDINGS OF FACT AND CONCLUSIONS OF LAW
                 IN CONNECTION WITH PRELIMINARY INJUNCTION

MARY KAY VYSKOCIL, United States District Judge:

       Plaintiff, Smart Study Co., Ltd., commenced this copyright and trademark infringement

action with the filing of its Complaint [ECF #6] on February 27, 2020. The case concerns the

trademark and copyright rights to commercial use of the “Baby Shark” image and name. See

Complaint ¶ 8-14. Baby Shark, as explained further below, is a worldwide sensation geared at

toddlers and young children that has been marketed and licensed by Plaintiff following the release

of a viral video on the internet in 2016. See Complaint ¶ 8-9. Plaintiff claims that Defendants,

more than 100 individuals, companies, and other business entities, sell counterfeit Baby Shark

products through Alibaba and AliExpress (Chinese marketplaces and e-commerce platforms),

infringing on its intellectual property. See Complaint ¶¶ 26-27, 30-45.

       On the same day the Complaint was filed, Plaintiff filed an application for a temporary

restraining order and preliminary injunction [ECF #12-16] seeking to enjoin the sale of allegedly

counterfeit Baby Shark products, which Plaintiff claims infringe on Plaintiff’s intellectual property

rights. The temporary restraining order (“TRO”) was granted that day [ECF #21]. The TRO, inter

alia, allowed alternative email service on Defendants, retailers who sell allegedly counterfeit


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products through internet retail platforms related to Chinese company Alibaba, and set dates for

briefing and a hearing on the motion for a preliminary injunction. However, as a result of the

global COVID-19 pandemic and the ensuing shutdown of most business in China, more time than

originally allowed was needed to locate service email addresses for the Defendants. As a result,

the Court modified the TRO to allow Plaintiff more time to serve the Defendants, and for the

Defendants to file oppositions to the preliminary injunction motion. See ECF #18 at 1. On March

16, 2020, all Defendants were served, 1 see ECF #20, and oppositions from Defendants were due

April 24, 2020. None were filed.

         On May 5, 2020, the Court held a hearing on the application for a preliminary injunction.

Only counsel for Plaintiff appeared; no representatives of any Defendant participated in the hearing

or have appeared in this action. At the hearing, following argument and questioning of counsel

for Plaintiff, the Court granted the motion for a preliminary injunction, and a written Order was

entered shortly thereafter. See ECF #23 (the “Preliminary Injunction Order”). At the May 5

hearing, the Court summarized its findings of fact and conclusions of law which lead it to grant

the injunction, see Fed. R. Civ. P. 52(a)(2), but noted a full opinion would follow.

                                             FACTUAL FINDINGS

         No Defendant has appeared in this action, and no opposition briefing was filed in advance

of the May 5 hearing. Thus, the facts as stated in Plaintiff’s Complaint are undisputed. For the

purposes of the motion for a preliminary injunction, the Court adopts all of the facts as stated in

the Complaint and the papers in support of the motion. See Featherstone v. Barash, 345 F.2d 246,

250 (10th Cir. 1965) (“[I]f there is no dispute between the parties about the facts, allegations of



1
 Plaintiff explained during the May 5 hearing that, as authorized in the TRO, they served Defendants using Rmail, an
online service that confirms valid proof of authorship, content, and delivery of an email. Plaintiff explained that Rmail
had confirmed that all Defendants received the service emails authorized by the TRO.

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the complaint may be accepted as true, thus eliminating the necessity of formal findings.”);

Carpenters’ Dist. Council, Detroit, Wayne & Oakland Ctys. & Vicinity, of United Bhd. of

Carpenters & Joiners of Am., AFL-CIO v. Cicci, 261 F.2d 5, 8 (6th Cir. 1958) (“It is true that if

there is no dispute between the parties about the facts, the allegations of a complaint may be

accepted as true, thus eliminating the necessity of formal findings . . . .”). While not an exhaustive

recitation, the Court summarizes the facts here.

        Plaintiff is a South Korean company that develops entertainment and gaming content for a

global audience. Complaint ¶ 7. Plaintiff produces content directed at preschool-aged children

through a single brand, Pinkfong. Complaint ¶ 8. In 2016, Pinkfong released the “Baby Shark”

song and music video on YouTube. Id. The song and video soon went viral, and today the video

has over 3.1 billion views on YouTube. Complaint ¶ 8. 2 After the video’s release, Plaintiff

developed a worldwide licensing program for Baby Shark products, including toys, clothing, and

entertainment. Complaint ¶ 9. After the products were introduced to the market, Plaintiff also

applied for and received various trademark and copyright registrations for Baby Shark and other

related concepts like “Mommy Shark,” “Daddy Shark,” and “Baby Shark (Motion Picture).”

Complaint ¶ 13, 15. Today, Baby Shark remains a widely popular brand for young children.

        Defendants, who are individuals and business entities located in China, see Complaint ¶ 26,

attempted to capitalize on the Baby Shark phenomenon by selling allegedly counterfeit Baby Shark

products. Complaint ¶ 27. The products are sold on Alibaba and AliExpress, e-commerce

platforms that allow merchants to sell goods to a global audience. Complaint ¶ 23. The sites

annually have over $1 billion in sales internationally, including to the United States, see


2
  While the Complaint includes the 3.1 billion number, at the time this opinion is written, the original video has
registered more than 5.2 billion YouTube views. See Pinkfong! Kids’ Songs & Stories, Baby Shark Dance | Sing and
Dance! | @Baby Shark Official | PINKFONG Songs for Children, YouTube (June 17, 2016),
https://www.youtube.com/watch?v=XqZsoesa55w&vl=en.

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Complaint ¶ 24, but allegedly have also become known as a marketplace for counterfeit and

trademark/copyright infringing goods.             See Complaint ¶ 25.           Confirming that reputation,

Defendants here, rather than proceed through Plaintiff’s licensing program, manufactured,

marketed, and sold Baby Shark products that appear to infringe on Plaintiff’s intellectual property.

See Complaint ¶¶ 32, 37. Defendants’ products are of lower quality than those produced by

Plaintiff and its licensees, and are sold at substantially lower prices, undercutting Plaintiff’s

market-share and de-valuing Plaintiff’s intellectual property. Complaint ¶¶ 3, 11, 37-39. 3

                                        CONCLUSIONS OF LAW

    A. Personal Jurisdiction

        The Court has personal jurisdiction over the Defendants. In reaching this conclusion, the

Court applied a two-part analysis: first, the Court considered the law of the forum state to

determine if jurisdiction is proper, and second, the Court considered whether exercise of

jurisdiction is consistent with due process. Licci ex rel. Licci v. Lebanese Canadian Bank, SAL,

732 F.3d 161, 168 (2d Cir. 2013); see Bristol-Myers Squibb Co. v. Superior Court, -- U.S. --, 137

S. Ct. 1773, 1779 (2017) (“Because ‘[a] state court's assertion of jurisdiction exposes defendants

to the State's coercive power,’ it is ‘subject to review for compatibility with the Fourteenth

Amendment's Due Process Clause,’ which ‘limits the power of a state court to render a valid

personal judgment against a nonresident defendant.’” (citing Goodyear Dunlop Tires Operations.,

S.A. v. Brown, 564 U.S. 915, 918 (2011); World-Wide Volkswagen Corp. v. Woodson, 444 U.S.

286, 291 (1980))).




3
  Since commencing the lawsuit, Plaintiff has been in contact with numerous Defendants, with whom they have
reached resolutions of the claims in the Complaint. The Court has approved two notices of dismissal with respect to
several Defendants.

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       New York’s long arm statute, N.Y. C.P.L.R. § 302(a)(1), provides that a Defendant is

subject to personal jurisdiction in New York based on business contacts where both “(1) The

defendant [has] transacted business within the state; and (2) the claim asserted [] arise[s] from that

business activity.” Licci, 732 F.3d at 168 (citing Solè Resort, S.A. de C.V. v. Allure Resorts Mgmt.,

LLC, 450 F.3d 100, 103 (2d Cir. 2006). The “transacted business” giving rise to jurisdiction must

include “some purposeful activities within the State that would justify bringing the nondomiciliary

defendant before the New York courts.” DH Servs., LLC v. Positive Impact, Inc., No. 12-cv-6153

(RA), 2014 WL 496875, at *3 (S.D.N.Y. Feb. 5, 2014) (citing SPCA of Upstate New York, Inc. v.

American Working Collie Association, 18 N.Y.3d 400, 404 (2012)). Similarly, the “arising from”

element requires “relatedness between the transaction and the legal claim such that the latter is not

completely unmoored from the former.” Licci, 732 F.3d at 168.

       Both requirements are met here. Since the claims in Plaintiffs’ complaint all arise from the

sale of allegedly counterfeit and infringing goods, the only question for the Court under New York

law is whether the Defendants do sell goods in this state (i.e. whether they transact business here).

In Chloè v. Queen Bee of Beverly Hills, LLC, 616 F.3d 158 (2d Cir. 2010), the Second Circuit

“update[d] [its] jurisprudence on personal jurisdiction in the age of internet commerce.” Id. at

165. In Chloè, the Court endorsed a finding that a California resident was subject to New York

jurisdiction where he sold a single allegedly trademark-infringing handbag (in addition to other

non-infringing goods) over the internet into New York in his capacity as an employee of a company

that sold other goods into the state. Id. at 166-67. The Court found that the Defendant’s sale of

bags generally into New York was sufficient to constitute “transacting business” and the sale of

one bag subject to the suit was sufficiently related to the business. Id. at 167. While the full extent

of Defendants sales into New York are unknown, their products are available for sale and shipment



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to New York. Indeed, to verify its allegation that Defendants transact business in New York,

Plaintiff here purchased and received in New York several counterfeit Baby Shark products from

approximately ten percent of Defendants. See Declaration of Jessica Arnaiz in Support of the

Motion, ECF #14 (“Arnaiz Decl.”), Ex. B. 4 These fourteen orders, where Plaintiff purchased one

or more items, indicate that, at least with regard to these fourteen defendants, jurisdiction is proper

in New York because they transact business here.

        As for the other Defendants, and as an additional ground for jurisdiction over the fourteen

Defendants from whom Plaintiff purchased products, jurisdiction is appropriate because

Defendants operate a “highly interactive website” from which consumers in New York can

purchase the allegedly infringing goods at issue here. See Chloè, 616 F.3d at 170 (collecting New

York cases holding that an interactive commercial website accessible from New York constitutes

transacting business for personal jurisdiction); Lifeguard Licensing Corp. v. Ann Arbor T-Shirt

Co., LLC, No. 15-cv-8459 (LGS), 2016 WL 3748480, at *3 (S.D.N.Y. July 8, 2016) (“A website

that does more than provide information about a product and allows customers to purchase goods

online, is a “highly interactive website,” which may provide a basis for personal jurisdiction under

CPLR § 302(a)). That the website Defendants operate is based on the Alibaba platform and that

orders are processed by Alibaba, makes no difference, because Defendants operate on the platform

as a regular business and not simply as occasional sellers. See Lifeguard Licensing Corp., 2016

WL 3748480, at *3 (“For internet sellers who use an internet storefront like Amazon, courts

generally distinguish between two categories. First are commercial vendors who use it “as a means

for establishing regular business with a remote forum.” Jurisdiction is proper as to these

defendants. In the second category are occasional sellers who use an internet service once to sell


4
 During the May 5 hearing, Plaintiff explained that in order to ensure that Defendants transact business in New York,
Plaintiff’s investigators purchased counterfeit Baby Shark products from approximately ten percent of Defendants.

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goods to the highest bidder who happens to be in the forum state.” (citing EnviroCare Techs., LLC

v. Simanovsky, No. 11-cv-3458 (JS)(ETB), 2012 WL 2001443, at *3 (E.D.N.Y. June 4, 2012))).

Because all Defendants operate such a “highly interactive website” as a means to sell their products

into New York, and because those websites are accessible in this state, personal jurisdiction over

Defendants is appropriate.

       Exercise of jurisdiction here is consistent with due process. “The due process inquiry

consists of two components—the ‘minimum contacts’ inquiry and the ‘reasonableness’ inquiry.”

McGraw-Hill Global Education Holdings, LLC v. Mathrani, 295 F. Supp. 3d 404, 413 (S.D.N.Y.

2017); accord Asahi Metal Indus. Co., Ltd. v. Superior Court, 480 U.S. 102, 112 (1987) (holding

that courts should consider both minimum contacts and substantive reasonableness); see also

Bristol-Myers Squibb, 137 S. Ct. at 1785-86 (Sotomayor, J., dissenting) (collecting cases). First,

Defendants have purposely availed themselves of New York by marketing and selling products

into New York through their internet storefronts. As a result, Defendants’ contacts with New York

“satisfy the minimum contacts prong of the constitutional inquiry for the same reasons that they

satisfy the statutory inquiry.” Mathrani, 295 F. Supp. 3d at 413 (citing Licci, 732 F.3d at 170

(noting that while “section 302(a)(1) . . . and constitutional due process are not coextensive,” cases

in which personal jurisdiction is permitted under the long-arm statute but is prohibited under the

due process analysis are “rare”).

       Second, asserting jurisdiction here is reasonable. When a plaintiff has made a threshold

showing of minimum contacts, the exercise of jurisdiction is favored, but may be overcome where

the Defendants present “a compelling case that the presence of some other considerations would

render jurisdiction unreasonable.” Metro. Life Ins. Co. v. Robertson-Ceco Corp., 84 F.3d 560, 568

(2d Cir. 1996) (citing Burger King v. Rudzewicz, 471 U.S. 462, 477-78 (1985)). Needless to say,



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Defendants have not made any showing that jurisdiction is unreasonable here as they have elected

not to appear. Cf. McGraw-Hill, 295 F. Supp. 3d at 414 (citing Peeq Media, LLC v. Buccheri,

2016 WL 5947295, at *5 (S.D.N.Y. Oct. 13, 2016)). The Court will not endeavor to find additional

hardships on the Defendant where they have not otherwise brought them forward; the Plaintiff’s

election of forum in this case is dispositive. Accord Asahi, 480 U.S. at 113-14 (holding that once

minimum contacts are established, the plaintiff’s interest in obtaining convenient and effective

relief is among the factors that determine reasonableness).

       Thus, personal jurisdiction over the Defendants is appropriate in New York.

   B. Preliminary Injunction

       Under Federal Rule of Civil Procedure 65(a), a preliminary injunction is appropriate only

if the movant shows: (1) a likelihood of success on the merits or sufficiently serious questions

going to the merits to make them a fair ground for litigation and a balance of hardships tipping

decidedly in the plaintiff's favor; (2) a likelihood of irreparable injury in the absence of an

injunction; (3) that the balance of hardships tips in the plaintiff's favor; and (4) that the public

interest would not be disserved by the issuance of an injunction.” Benihana, Inc. v. Benihana of

Tokyo, LLC, 784 F.3d 887, 895 (2d Cir. 2015)); Fed. R. Civ. P. 65(a).

       Plaintiff has demonstrated irreparable harm. “Irreparable harm exists in a trademark case

when the party seeking the injunction shows that it will lose control over the reputation of its

trademark . . . because loss of control over one’s reputation is neither calculable nor precisely

compensable.” U.S. Polo Ass’n, Inc. v. PRL USA Holdings, Inc., 800 F. Supp. 2d 515, 540

(S.D.N.Y. 2011) (alteration in original) (citing New York City Triathlon, LLC v. NYC Triathlon

Club, Inc., 704 F. Supp. 2d 305, 343 (S.D.N.Y. 2010), aff'd, 511 F. App’x 81 (2d Cir. 2013). As

the undisputed facts in the Complaint allege, Defendants’ actions have deprived Plaintiff of the



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ability to control the quality of the products using the Baby Shark name and image. See El Greco

Leather Prods. Co. v. Shoe World, Inc., 806 F.2d 392, 395 (2d Cir. 1986) (“One of the most

valuable and important protections afforded by the Lanham Act is the right to control the quality

of the goods manufactured and sold under the holder's trademark.”). Moreover, Defendants’

cheaper prices (as a result of the inferior materials) have resulted in devaluation of the marks

themselves. See Declaration of You Jae Kang in Support of Motion, ECF #15 (“Kang Decl.”), ¶¶

25-26, 28; Declaration of Brieanne Scully in Support of Motion, ECF #16 (“Scully Decl.”), ¶ 21.

These injuries are sufficient to constitute irreparable harm. See Zino Davidoff SA v. CVS Corp.,

571 F.3d 238, 243-44. (2d Cir. 2009). 5

         Plaintiff also has demonstrated a likelihood of success on the merits of its trademark and

copyright claims. On the trademark claims, Plaintiff needs to show that its marks are valid and

entitled to protection and that Defendants’ use of the marks is likely to cause confusion. Tiffany

(NJ) Inc. v. eBay, Inc., 600 F.3d 93 (2d Cir. 2010). Plaintiff has shown that the marks are valid

by including the trademark registrations on file with the United States Patent and Trademark

Office. See Kang Decl., Ex. A. Additionally, the alleged infringement here, as supported by the

undisputed facts and examples Plaintiff includes, are “inherently confusing,” abrogating any need

for examination of the factors in Polaroid Corp. v. Polarad Elecs. Corp., 287 F.2d 492, 495 (2d

Cir. 1961), because the products in question include counterfeit references and versions of the

Baby Shark name and likeness. See Fendi Adele S.R.L. v. Filene’s Basement, Inc., 696 F. Supp.

2d 368, 383 (S.D.N.Y. 2010).




5
  The Court’s preliminary injunction order also directs certain financial institutions to freeze Defendants’ accounts
and for the websites that host Defendants’ storefronts to restrict any access to them. For the reasons stated in Plaintiff’s
memorandum of law in support of the motion [ECF #13] and the declarations filed in support of the motion, the court
believes that these restrictions are necessary to prevent Defendants from causing further irreparable harm by creating
new storefronts and business identities to sell their counterfeit goods.

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       To obtain a preliminary injunction, Plaintiff need not establish a likelihood of success on

every claim. It is sufficient to establish likelihood of success on the merits of only one of its

claims. See 725 Eatery Corp. v. City of New York, 408 F. Supp. 3d 424, 459 (S.D.N.Y. 2019)

(“Further, Plaintiffs need not demonstrate a likelihood of success on the merits of every claim—

rather, they need only ‘show a likelihood of success on the merits of at least one of [their] claims.’”

(alteration in original) (quoting L.V.M. v. Lloyd, 318 F. Supp. 3d 601, 618 (S.D.N.Y. 2018))). That

said, Plaintiff also is likely to succeed on its copyright claim.

       To prevail on the copyright claim, Plaintiff must prove it owns a valid copyright and that

the infringing products copy an “original” element of the work. See Kwan v. Schlein, 634 F.3d

224, 229 (2d Cir. 2011). In support of its copyright claim, Plaintiff includes its certificate of

registration from the United States Copyright Office to prove it owns a valid copyright. See Kang

Decl., Ex. B; see also Scholz Design, Inc. v. Sard Custom Homes, LLC, 691 F.3d 182, 186 (2d Cir.

2012) (“A certificate of copyright registration is prima facie evidence of ownership of a valid

copyright . . . .”). Plaintiff has also demonstrated that Defendants are infringing on Plaintiff’s

copyright. See P&G v. Colgate-Pamolive Co., 199 F.3d 74, 77 (2d Cir. 1999) (noting that

copyright infringement may be proven both by direct and indirect evidence). The Plaintiff’s

Complaint and Exhibits, the factual allegations of which the Court has adopted in full for the

purposes of this motion, include various pictures of Defendants’ infringing products as compared

to Plaintiff’s legal ones. The products, in short, appear practically identical. See Complaint

¶ 37-39; Arnaiz Decl., Ex. A; Scully Decl., Ex. A. There is also no doubt that Defendants had

access to Plaintiff’s work; indeed, it seems wholly unlikely that Defendants could design,

manufacture, and sell their products without any sense that Plaintiff’s work existed. See Jorgensen

v. Epic/Sony Records, 351 F.3d 46, 51 (2d Cir. 2003) (holding that infringer had access to



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copyright owners work where there was a “reasonable possibility” of encountering it). Indeed,

Plaintiff’s global marketing efforts using the Baby Shark images and products makes this

possibility highly unlikely.

       Finally, the balance of hardships tips decidedly in Plaintiff’s favor, and an injunction is in

the public interest, for the same reason: Defendants’ business is seemingly based on counterfeit,

intellectual property-infringing tactics. There is no argument that requiring Defendants to comply

with legal obligations is either a legitimate hardship or against the public interest. “[T]o the extent

defendants ‘elect to build a business on products found to infringe[,] [they] cannot be heard to

complain if an injunction against continuing infringement destroys the business so elected.’”

Broad Music, Inc. v. Prana Hosp., Inc., 158 F. Supp. 3d 184, 196 (S.D.N.Y. 2016) (alterations in

original) (quoting Mint, Inc. v. Amad, No. 10-cv-9395 (SAS), 2011 WL 1792570, at *3 (S.D.N.Y.

May 9, 2011)). Likewise, “injunctive relief here will advance the public's ‘compelling interest in

protecting copyright owners’ marketable rights to their work’ so as to ‘encourage[e] the production

of creative work.’” Id. (alteration in original) (citing WPIX, Inc. v. ivi, Inc., 691 F.3d 275, 287 (2d

Cir. 2012)).

       Plaintiff has demonstrated that it is likely to succeed on both its trademark and copyright

claims and that absent an injunction it will suffer irreparable harm. Additionally, there is no

hardship on Defendants or superseding public interest that warrants the Court deny the motion. A

preliminary injunction is appropriate.




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                                         CONCLUSION

       The foregoing constitutes the Court’s Findings of Fact and Conclusions of Law in Support

of the issuance of a preliminary injunction. Plaintiff is directed to serve a copy of this opinion on

Defendants, as set forth in the Preliminary Injunction Order.

SO ORDERED.
                                                      _________________________________
Date: May 7, 2020                                     MARY KAY VYSKOCIL
      New York, NY                                    United States District Judge




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